     Case: 1:21-cv-00135 Document #: 524 Filed: 03/08/23 Page 1 of 4 PageID #:10489




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION




                                                  Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                       Judge Sharon Johnson Coleman

                                                  Magistrate Judge Maria Valdez



                        JOINT STATUS REPORT ON DISCOVERY

         Pursuant to the Court’s January 13, 2023 Order (Dkt. 521), Plaintiffs; Defendants

Clearview AI, Inc. (“Clearview”), Hoan Ton-That, Richard Schwartz, Rocky Mountain Data

Analytics LLC (“Rocky Mountain”), and Thomas Mulcaire (collectively, the “Clearview

Defendants”); and Defendants Macy’s, Inc., Macy’s Retail holdings, Inc. (n/k/a Macy’s Retail

Holdings, LLC), and Macy’s Corporate Services, Inc (n/k/a Macy’s Corporate Services, LLC)

(collectively, the “Macy’s Defendants”), by and through their respective counsel, file this Joint

Status Report on Discovery.

I.       DOCUMENT PRODUCTION

         All parties represent that they have completed document production. The Macy’s

Defendants completed their production on March 6, 2023, and Plaintiffs are in the process of

reviewing their recent productions for completeness. The completeness of the Clearview

Defendants’ production is the subject of Plaintiffs’ Motion for Discovery Sanctions against the

Clearview Defendants (Dkt. 474) and the Clearview Defendants’ Motion for Protective Order

(Dkt. 471) (collectively, the “Pending Discovery Motions”), and is the subject of ongoing meet

and confer discussions among the Macy’s Defendants and the Clearview Defendants. Responses
  Case: 1:21-cv-00135 Document #: 524 Filed: 03/08/23 Page 2 of 4 PageID #:10490




to the Pending Discovery Motions are due on April 4, 2023, and replies are due on April 18,

2023.

II.       PENDING DISCOVERY MOTIONS


          As noted above, responses to the Pending Discovery Motions are due on April 4, 2023,

and replies are due on April 18, 2023.

III.      ORAL DISCOVERY

          Depositions of the named Plaintiffs were previously noticed for October 27-November 4,

2022. Those depositions were continued in light of motion practice relating to designation of

interim lead class counsel and subsequent efforts to mediate between Plaintiffs and the

Clearview Defendants, which mediation concluded unsuccessfully on March 7, 2023. Pursuant to

the Court’s Order of March 6, 2023 (Dkt. 523), depositions of fact witnesses are to be concluded

by June 5, 2023. The parties are currently conferring on deposition dates and anticipate

completing depositions of fact witnesses within the current deadline.

Dated: March 8, 2023                            Respectfully submitted:


By: /s/ Jon Loevy
    JON LOEVY

       Plaintiffs’ interim lead class counsel


By: /s/ Daniel R. Saeedi
    DANIEL R. SAEEDI

       Counsel for the Macy’s Defendants


By: /s/ James Thompson
    JAMES THOMPSON

       Counsel for the Clearview Defendants




                                                   2
  Case: 1:21-cv-00135 Document #: 524 Filed: 03/08/23 Page 3 of 4 PageID #:10491




Counsel for Other Plaintiffs:

Frank Hedin
Joshua Arisohn
Scott Drury
Steven Webster
Michael Drew
Michael Wood




                                        3
  Case: 1:21-cv-00135 Document #: 524 Filed: 03/08/23 Page 4 of 4 PageID #:10492




                              CERTIFICATE OF SERVICE


        I, Thomas M. Hanson, an attorney, hereby certify that, on March 8, 2023, I filed the
foregoing document using the Court’s CM/ECF system, which effected service on all counsel of
record.


                                                 /s/
                                                 Thomas M. Hanosn
